                           UNITED STATES DISTRICT COURT
                           MIDDLE DISTRICT OF TENNESSEE
                                NASHVILLE DIVISION


UNITED STATES OF AMERICA                       )
                                               )
v.                                             )   CASE NO. 3:13-00065
                                               )   JUDGE SHARP
AARON SLOANE TARVER                            )


                                         ORDER


       A hearing on a plea of guilty in this matter is hereby scheduled for Wednesday, May 21,

2014, at 1:30 p.m.

       It is so ORDERED.



                                           KEVIN H. SHARP
                                           UNITED STATES DISTRICT JUDGE




 Case 3:13-cr-00065        Document 137      Filed 04/30/14     Page 1 of 1 PageID #: 389
